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                                          #:1337


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10                      UNITED STATES DISTRICT COURT
11                    CENTRAL DISTRICT OF CALIFORNIA
                                    ******
12
     UNITED STATES OF AMERICA, )
13                                  )
14                  Plaintiff,      )
                                    )   CASE NO. 2:24-CR-00091-ODW
15
     v.                             )
16                                  )   Honorable Otis D. Wright II
17   ALEXANDER SMIRNOV,             )   Date of Hearing: August 26, 2024
18
                                    )   Time of Hearing: 11:30 a.m.
                    Defendant,      )
19
     ______________________________ )
20

21    DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISQUALIFY THE
       SPECIAL COUNSEL AND DISMISS THE INDICTMENT IN THIS CASE
22

23         COMES NOW, Defendant, ALEXANDER SMIRNOV (“Mr. Smirnov”), by
24
     and through his attorneys, DAVID Z. CHESNOFF, ESQ., and RICHARD A.
25

26   SCHONFELD, ESQ., of the law firm of CHESNOFF & SCHONFELD and hereby

27   files his Reply in support of his Motion to Disqualify David C. Weiss (Special
28
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1    Counsel), Leo J. Wise (Principal Senior Assistant Special Counsel), Derek E. Hines
2
     (Senior Assistant Special Counsel), and Sean F. Mulryne and Christopher M. Rigali
3

4    (Assistant Special Counsels), and dismiss the Indictment (ECF No. 1, Feb. 14, 2024)
5    in this case. 1
6
            Dated this 9th day of August, 2024.
7

8                                               Respectfully Submitted:
9
                                                CHESNOFF & SCHONFELD
10

11                                               /s/ David Z. Chesnoff
12
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19
                                                SMIRNOV
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     1
27           Mr. Smirnov filed his notice of motion and motion to dismiss on July 15, 2024, as ECF No.
     93 (collectively, “Def. Mot.”). The Government filed its opposition on August 5, 2024, as ECF No.
28   99 (“Gov. Opp.”). This matter is set for a hearing on August 26, 2024. See ECF No. 93.

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7
           B.   By pointing out the conflict of interest that is facially apparent in this
8               case, Mr. Smirnov advanced a claim grounded in precedent and recent
9               commentary……………………………………………………………. 6
10
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11              this Court should—as did Judge Cannon in the Florida case—reject it and
12              dismiss the Mr. Smirnov’s indictment………………………………… 7
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1                   MEMORANDUM OF POINTS AND AUTHORITIES
2
     I.    ARGUMENT
3

4          A.      The present indictment—which charges neither President Biden nor
5                  his son, but a third-party who happened to have alleged dealings with
6                  the latter—exceeds the scope of the Appointments Order.

7
           While duly reciting several regulatory exceptions in subsection (b), the present
8
     Appointment Order (that is, Order No. 5730-2023, signed by Attorney General Garland
9

10   on Aug. 11, 2023) was crafted narrowly to apply—as the only named target—to Robert
11
     Hunter Biden, whose Delaware-based indictment was already a matter of record:
12
           In 2019, United States Attorney David C. Weiss, along with federal law
13
           enforcement partners, began investigating allegations of certain
14         criminal conduct by, among others, Robert Hunter Biden. That
15         investigation includes the investigation and prosecutions referenced
16         and described in United States v. Robert Hunter Biden, Criminal Action
           Nos. 23-mj-274 (MN) and 23-61 (MN) (D. Del.).
17

18         By virtue of the authority vested in the Attorney General, including 28
19         U.S.C §§ 509, 510, 515, and 533, in order to discharge my
           responsibility to provide supervision and management of the
20
           Department of Justice, and to ensure a full and thorough investigation
21         of certain matters, I hereby order as follows:
22

23
                (a) David C. Weiss, United States Attorney for the District of
                Delaware, is appointed to serve as Special Counsel for the
24
                Department of Justice.
25

26              (b) The Special Counsel is authorized to conduct the ongoing
                investigation described above, as well as any matters that arose
27

28

                                                 1
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1              from that investigation or may arise from the Special Counsel’s
2              investigation or that are within the scope of 28 C.F.R. § 600.4(a).
3
               (c) The Special Counsel is authorized to prosecute federal crimes
4              in any federal judicial district arising from the investigation of
5              these matters.
6
               (d) Sections 600.4 to 600.10 of Title 28 of the Code of Federal
7
               Regulations are applicable to the Special Counsel.
8

9    Id. at 1-2.
10
            By the terms of his Order, therefore, Special Counsel Weiss received far less
11

12
     prosecutorial latitude than did Special Counsel Jack Smith in United States v. Trump,

13   et al., Case 9:23-cr-80101-AMC, the “documents” case previously pending in the
14
     United States District Court for the Southern District of Florida. There, as summarized
15

16   by District Judge Cannon in her July 15, 2024 order of dismissal (“Fla. Order”):

17          The Appointment Order [for Special Counsel Smith] . . . authorizes
18          the Special Counsel to conduct two specified “ongoing
            investigation[s]” and to “prosecute federal crimes arising from”
19
            those investigations . . . . The first investigation relates to “efforts to
20          interfere with the lawful transfer of power following the 2020
21          presidential election” . . . . The second investigation is “referenced
22
            and described in the United States’ Response to Motion for Judicial
            Oversight and Additional Relief, Donald J. Trump v. United States
23
            . . ., as well as any matters that arose or may arise directly from this
24          investigation or that are within the scope of 28 C.F.R. § 600.4(a)” .
25          . . . The instant Superseding Indictment—and the only indictment
            at issue in this Order—arises from the latter investigation.
26

27

28

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1    Fla. Order at 7 (emphasis added). Thus, while Special Counsel Smith was authorized to
2
     investigate two “ongoing investigations” into former President Trump, the instant
3

4    Appointment Order never mentions Mr. Smirnov and the instant Indictment does not
5    charge “Robert Hunter Biden,” the only person expressly mentioned in that Order.
6
           Here, the Indictment at para. 41 states “[i]n July 2023, the FBI requested that the
7

8    U.S. Attorney’s Office for the District of Delaware assist the FBI in an investigation of
9    allegations related to the 2020 1023. At that time, the United States Attorney’s Office
10
     for the District of Delaware was handling an investigation and prosecution of
11

12   Businessperson 1.” The Appointment of Special Counsel cited in the Government’s
13   Opposition is dated August 11, 2023, which is a date after the FBI’s request identified
14
     in paragraph 41 of the Indictment.
15

16         Accordingly, although the Government has asserted in their Opposition that
17   “[t]his case arose from the investigation of Robert Hunter Biden because the defendant
18
     provided false derogatory information to the FBI about Robert Hunter Biden’s business
19

20   dealings;” it appears the Government is referring to the investigation conducted by Mr.
21
     Weiss in his capacity as the U.S. Attorney for the District of Delaware, but prior to his
22
     appointment as Special Counsel on August 11, 2023. See Gov. Opp. at p. 4, lines 12-
23

24   14.
25
           Furthermore, in its opposition, the Government 1) ignores the narrowness of Mr.
26
     Weiss’s authority in this case, while 2) complains that Mr. Smirnov, in his motion,
27

28

                                                3
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1    quoted “large portions” of Judge Cannon’s damning opinion to support her dismissal of
2
     the Florida indictment—which was based on Mr. Smith’s broader grant of prosecutorial
3

4    authority than the one received by Mr. Weiss. See, e.g., Gov. Opp. 6-7; but compare id.
5    at 15 (unable to distinguish Judge Cannon’s opinion on the merits, the Government is
6
     reduced to weakly stating that it “respectfully disagrees with the reasoning in that
7

8    opinion, as well as Justice Thomas’s solo concurrence in Trump v. United States, 144
9    S. Ct. 2312, 2347-52 (2024).”).
10
            These distinctions highlight the liberties taken by Mr. Weiss in his prosecution
11

12   of Mr. Smirnov, on a narrowly drawn Appointment Order. The Government proffers
13   nothing—not even a bare allegation, much less any actual evidence—to support the
14
     supposition that, once engaged in its Hunter Biden investigation, Special Counsel Weiss
15

16   sought supplemental regulatory authorization (under 28 C.F.R. § 600.4(a), as cited in
17   subsection (b) of the Appointment Order) to investigate not only the President’s son,
18
     but also “any matters that arose from that investigation or may arise from the Special
19

20   Counsel’s investigation or that are within the scope . . . § 600.4(a).” Mr. Smirnov is not
21
     aware of the Government ever having made any request (or, having held any
22
     consultation with the Attorney General) for supplemental, expanded authority beyond
23

24   what was conferred in the August 11, 2023 Order.1
25

26   1
       We note parenthetically that the Government did not mention an interesting deviation from
27   statutory template in this case. Thus, the text of 28 C.F.R. § 600.4(b) provides:

28

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1           The foregoing reveals that Mr. Weiss’s statutorily unfounded prosecution of Mr.
2
     Smirnov exceeds the limited authority he was given by the Attorney General. See, e.g.,
3

4    Manafort v. U. S. Dep’t of Just., 311 F. Supp.3d 22, 25-26 (D.D.C. 2018) (dismissing
5    civil action against DOJ because plaintiff, indicted after a Special Counsel
6
     investigation, had an adequate remedy at law: “The [civil] complaint requests ‘an order
7

8    and judgment setting aside the Appointment Order and declaring it invalid’ and it asks
9    for ‘an order and judgment . . . setting aside all actions taken against Mr. Manafort
10
     pursuant to the Appointment Order,’ which would include the pending criminal
11

12   indictments;” “Plaintiffs claims about the legitimacy of the Appointment Order can be
13   addressed in his criminal cases in accordance with the Federal Rules of Criminal
14
     Procedure . . . .”). Mr. Smirnov thus requests that this Court rule—in this criminal
15

16   proceeding—that the prosecution of Mr. Smirnov violated the Appointments Clause.
17

18

19

20
            (b) If in the course of his or her investigation the Special Counsel concludes
21          that additional jurisdiction beyond that specified in his or her original
            jurisdiction is necessary in order to fully investigate and resolve the matters
22          assigned, or to investigate new matters that come to light in the course of his or
23          her investigation, he or she shall consult with the Attorney General, who will
            determine whether to include the additional matters within the Special
24          Counsel’s jurisdiction or assign them elsewhere.

25   Id. (emphasis added). But in the Appointment Order brandished against Mr. Smirnov, the text
     omits any mention of 1) the statutorily mandated “consultation” between the Special Counsel and
26
     the Attorney General, and 2) the additional requirement that the Attorney General—i.e., the sole
27   delegator of Mr. Weiss’s authority—formally “determine” whether any expansion “beyond that
     specified in his . . . original jurisdiction” is “necessary.”
28

                                                        5
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1          B.     By pointing out the conflict of interest that is facially apparent in this
2                 case, Mr. Smirnov advanced a claim grounded in precedent and recent
                  commentary.
3

4          The Government is incorrect when it suggests (Gov. Opp. at 20) that—by
5
     pointing out the obvious conflict of interest in this case—Mr. Smirnov lacked support
6

7    for this proposition. In reply, therefore, we now provide an excerpt from a published
8
     article that relies upon both written opinions and government reports.
9
        The traditional purpose of Independent Counsels . . . and Special Prosecutors
10
        . . . (as in [United States v. Nixon, 418 U.S. 683 (1974)], was to prevent a
11      particular conflict of interest: where the DOJ would investigate itself, the
12      President, as well as the President’s family and close confidants. There would
        be a conflict in such cases because the DOJ is ultimately responsible to the
13
        President . . . . [P]rosecutors outside the usual chain of responsibility, and who
14      enjoyed unusual independence, were needed so that DOJ could avoid internal
15      conflicts—the conflicts that arise where the prosecutor investigates itself
16      and/or those to whom the prosecutor is responsible. For example, Attorney
        General Garland’s decision to appoint a special counsel to investigate
17
        President Biden’s document case, as well as Hunter Biden’s criminal case, fits
18      into this paradigm. [J]ack Smith explained this approach in his [Florida]
19      opposition brief:
20
                [T]he GAO, “an independent agency within the legislative
21              branch” that serves Congress, Bowsher v. Merck & Co., 460
22              U.S. 824, 844 (1983), stated that it “agree[d] with the
23
                Department that the same statutory authorities that authorize
                the Attorney General . . . to delegate authority to a U.S.
24
                Attorney to investigate and prosecute high ranking
25              government officials are ‘other law’ for the purposes of
26              authorizing the Department to finance the investigation and
                prosecution from the permanent indefinite appropriation.”
27

28

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1         Smith’s brief also relied on United States v. Stone, [394 Fed. Supp.3d 1,
2         17 (D.D.C. 2019)]. Stone relied upon the same GAO report . . . [and]
          explained: “The [Ethics in Government Act] authorized the Attorney
3
          General to refer criminal matters involving certain high-level government
4         officials . . . to a three-judge court, which would be responsible for the
5         appointment of an independent investigating attorney.”
6
     Tillman and Blackman, What We Did and Did Not Argue in United States v. Trump,
7

8    Harvard J. Pub. Policy, text at nn. 30-33 (July 16, 2024) (emphases added). 2
9           C.      The Government’s reliance on United States v. Nixon is misplaced, and
10                  this Court should—as did Judge Cannon in the Florida case—reject it
11                  and dismiss the Mr. Smirnov’s indictment.

12
            This Court should follow the lead of Judge Cannon and reject the Government’s
13
     attempt (see Gov. Opp. at 16-17) to find binding support for the appointment of
14

15   Special Counsel Weiss in United States v. Nixon, 418 U.S. 683 (1974).
16

17
     2
18          Indeed, at the oral argument shortly proceeding the dismissal of the Florida case, the DOJ
     attorney representing Special Counsel Jack Smith highlighted to Judge Cannon these same
19   “avoidance of conflict” concerns:
20          It is inherent in the effort to, on the one hand, ensure that—whether we call it an
21          independent counsel or a Special Counsel—has adequate independence when a
            situation presents itself that requires the avoidance of conflict or somebody who
22          can operate outside of the typical Justice Department, sort of, operations because
23          it’s investigating the Justice Department itself or it’s investigating some sort of
            high-ranking or high-level political official.
24

25   Tillman & Blackman, supra text at n. 33 (quoting Transcript in United States v. Trump, et al.) (June
     21, 2024) (emphases added).
26

27

28

                                                       7
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1          Whether—in 2024—Nixon furnished a valid basis for appointments such as Mr.
2
     Smith’s in the Florida case turned (Judge Cannon explained) on whether the following
3

4    passage from Nixon was a binding holding (as unsuccessfully urged by Smith) or
5    nonbinding dicta (as urged by Trump):
6
           Under the authority of Art. II, § 2, Congress has vested in the Attorney
7
           General the power to conduct the criminal litigation of the United States
8          Government. 28 U.S.C. § 516. It has also vested in him the power to
9          appoint subordinate officers to assist him in the discharge of his duties.
           28 U.S.C. §§ 509, 510, 515, 533. Acting pursuant to those statutes, the
10
           Attorney General has delegated the authority to represent the United
11         States in these particular matters to a Special Prosecutor with unique
12         authority and tenure. The regulation gives the Special Prosecutor
           explicit power to contest the invocation of executive privilege in the
13
           process of seeking evidence deemed relevant to the performance of
14         these specially delegated duties.
15

16   Nixon, 418 U.S. at 694–95 (quoted by Fla. Order at 53-54) (emphasis in original).

17         Judge Cannon ruled that the quoted passage was dicta and that—because he was
18
     presumptively a “principal officer” (not a “subordinate” or “inferior officer”)— Smith’s
19

20   appointment “violate[d] the Appointments Clause without question.” Fla. Order at 81

21   (citing Art. II. § 2, cl. 2) (emphasis added); see also id. at 54-55 (“The issue of the
22
     Attorney General’s appointment authority was not raised, briefed, argued, or disputed
23

24   before the Nixon Court,” thus suggesting that Nixon Court’s “passing remarks” were

25   dicta), 57-59 (noting unique “decisional context”), 61-62 (unlike the Florida case or Mr.
26
     Smirnov’s case, defendant in Nixon does not contest validity of appointment), 71-81
27

28   (noting, inter alia, that current regulations “impose almost no supervision or direction

                                                 8
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1    over the Special Counsel” and that “while . . . Special Counsel Smith’s position will
2
     end ‘[a]t the conclusion’ of his ‘work,’ see 28 C.F.R. § 600.8(c), . . . that circumstance
3

4    does not equate to a ‘limited tenure’ in a meaningful sense;” thus, “compelling reasons”
5    suggest designating Smith as a “principal-officer” whose appointment as such “would
6
     violate the Appointments Clause without question”).
7

8          Judge Cannon’s analysis regarding Nixon is supported by the commentators.
9          First, the Nixon Court repeatedly described the circumstances giving rise
10         to the conflict as unique . . . . When [as in that case] the Court tells the
11
           parties . . . that the facts are “unique” and . . . does so multiple times, the
           implication is that other cases are, in fact, dissimilar and that the holding
12
           should not be extended to different facts at a subsequent date. Nixon was
13         the proverbial ticket good for one ride—or perhaps, one president
14         ....
           Second, the Nixon Court . . . expressly rel[ied] on several statutory
15
           provisions, and on regulations put into effect in 1973 . . . . [T]he latter
16         regulations were superseded by the Ethics in Government Act (1978) . . . .
17         The 1978 act . . . expired in 1999. [N] ew regulations were put into effect
           in 1999 by Attorney General Reno. The Nixon-Court-era regulations for
18
           special prosecutors and the modern . . . regulations for special counsels are
19         not the same. For that reason alone, Nixon is not and cannot be controlling:
20         Nixon relied upon federal regulations which are no longer in effect.
21
           Third, Nixon explained why the 1973 . . . regulations were significant[:]
22

23                The Attorney General will not . . . interfere with the
24                Special Prosecutor’s decisions or actions . . . . [T]he
                  President will not exercise his Constitutional powers to
25
                  effect the discharge of the Special Prosecutor . . . except
26                for extraordinary improprieties . . . .
27

28

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1            Under the 1973 . . . regulations,. . . Nixon was predicated on a unique and
2            an unmatched level of independence vested in special prosecutors. By
             contrast, today’s special counsel, including Jack Smith, enjoy no such
3
             independence against removal. Thus, Nixon is not controlling.
4

5    Tillman & Blackman, supra text at nn. 11-13. Contrary to the Government’s argument,
6
     therefore, the Nixon dicta cannot—under the regulations in effect in 2023—support Mr.
7
     Weiss’s appointment.
8

9           D.     The correct remedy for the instant violation of the Appointments
10                 Clause is—as held in the Florida case—dismissal.

11
            As an alternative to deeming dismissal the proper remedy for a violation of the
12
     Appropriations Clause, Mr. Smirnov further urges this Court to find that a violation of
13

14   the Appointments Clause also warrants dismissal. 3
15
            [I]n reaching the same conclusion based on an Appointments Clause infirmity,
16
     Judge Cannon explained:
17

18          The Supreme Court’s decision in Lucia v. SEC, 585 U.S. 237 (2018),
19          serves as the best comparator for remedy purposes. In Lucia, the petitioner
            . . . raised a timely challenge to the validity of the judge’s appointment. Id.
20
            at 243–44. The Supreme Court conclude[ed] that the judge’s appointment
21          was constitutionally defective under the Appointments Clause. Id. at 251.
22          Because the judge “heard and decided [the petitioner’s] case without the
            kind of appointment the Clause requires,” the Court ruled that “the
23
            ‘appropriate’ remedy for an adjudication tainted with an appointments
24          violation is a new ‘hearing before a properly appointed’ official.” Id. at
25          251 (quoting Ryder v. United States, 515 U.S. 177, 183, 188 (1995)) (full
26

27   3
      Mr. Smirnov reasserts his Appropriations Clause arguments raised in the underlying Motion. See
28   Def. Mot. at 17-19.

                                                    10
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1          citation). In other words, Lucia undid the unlawful action by granting
2          petitioner a new hearing before a constitutionally appointed officer.
3
           Here, as in Lucia, the appropriate remedy is invalidation of the officer’s
4          ultra vires acts. Since November 2022, Special Counsel Smith has been
5          exercising “power that [he] did not lawfully possess.” Collins v. Yellen,
6          594 U.S. 220, 258 (2021) (full citation). All actions that flowed from his
           defective appointment—including his seeking of the Superseding
7
           Indictment . . .—were unlawful exercises of executive power. Because . . .
8          Smith “cannot wield executive power except as Article II provides,” his
9          “[a]ttempts to do so are void” and must be unwound. Id. at 283 (Gorsuch,
           J., concurring) . . . . [T]he Court sees no alternative course to cure the
10
           unconstitutional problem.
11

12   Fla. Order at 83-84.
13
           Because Mr. Weiss has also been “exercising power he did not possess” since the
14

15   Attorney General signed Order No. 5730-2023 on August 11, 2023, dismissal is

16   likewise compelled. See Fla. Order at 84, n.62 (invalidation of ultra vires acts and
17
     dismissal—and nothing less—are compelled, given that the constitutional violation at
18

19   issue “goes to the core of [the] appointment”) (emphasis added).
20   ///
21

22

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1    II.   CONCLUSION
2
           The present Indictment (ECF No. 1, Feb. 14, 2024) was brought by an
3

4    unauthorized Special Counsel with funds not appropriated by Congress. Thus, for the
5
     foregoing reasons and in United States v. Donald J. Trump, et al., Case 9:23-cr-
6

7
     80101-AMC (July 15, 2024) (Cannon, J.), this Court should dismiss the Indictment

8    with prejudice.
9
           Dated this 9th day of August, 2024.
10

11
                                           Respectfully Submitted:

12
                                           CHESNOFF & SCHONFELD
13

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1                              CERTIFICATE OF SERVICE
2
           I hereby certify that on this 9th day of August, 2024, I caused the forgoing
3

4    document to be filed electronically with the Clerk of the Court through the CM/ECF
5
     system for filing; and served on counsel of record via the Court's CM/ECF system.
6

7
                                    /s/ Camie Linnell____
8
                                    Employee of Chesnoff & Schonfeld
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